                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:11-00194
                                                    )      JUDGE CAMPBELL
JESSIE LEE ALLEN, et al.                            )


                                            ORDER

       The Court held a Pretrial Conference on September 25, 2012 during which the parties

were given an opportunity to comment on pending motions, and the parties have filed responses

and replies. The Court rules on the following pending motions as set forth herein.

       In the Government’s Second Motion in Limine Regarding Impeachment of Testifying

Witnesses (Docket No. 729), the Government seeks to require the Defendant to comply with

Federal Rule of Evidence 609 in cross examining Government witnesses about prior convictions.

In his Response (Docket No. 816), the Defendant agrees that Rule 609 will apply to cross

examination regarding prior convictions. The Motion is GRANTED, as follows: Defendant may

impeach the credibility of Government witnesses with their prior convictions pursuant to Rule

609. The Government shall make contemporaneous objections at trial if the Defendant exceeds

the scope of Rule 609 as to impeachment by prior conviction.

       Through his Motion in Limine No. 4 (Rumor/Word on the Street) (Docket No. 754),

Defendant Smith requests that the Court prohibit the Government from offering “word on the

street”-style testimony from witnesses. The Motion is DENIED, as too vague to be ruled on

pretrial. The Defendant shall make contemporaneous objections at trial.

       Defendant Smith’s Motion in Limine No. 5 (Manner and Means of Conspiracy) (Docket




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No. 755) seeks to strike the section of the Third Superseding Indictment entitled “Manner and

Means of the Conspiracy.” The Motion is DENIED. The section at issue helps to organize and

explain the charges against the Defendant.

       Through his Motion in Limine No. 6 (Lawyers) (Docket No. 756), Defendant Smith

seeks to exclude any testimony regarding lawyers being paid with drug money. The Motion is

GRANTED in part, and DENIED in part. Defense counsel is appointed and paid with CJA

funds. Testimony about how the Vice Lord dues were used is relevant to the charged

conspiracy, including the use of such funds for attorneys. Provided, however, the Government

cannot introduce any proof or suggest that Defendant’s counsel is being paid with drug money.

       It is so ORDERED.


                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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